          Case: 23-2366           Document: 149                  Filed: 12/23/2024           Pages: 26


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                                                     IN THE
                              UNITED STATES COURT OF APPEALS
                                    FOR THE SEVENTH CIRCUIT
                              ______________________________________

                                                  No. 23-2366

                                                  K.C., et al.,

                                            Plaintiffs/Appellees,

                                                         v.

                INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING
                            BOARD OF INDIANA, et al.

                                          Defendants/Appellants

                           _________________________________________

                   On Appeal from the United States District Court for the
                     Southern District of Indiana, Indianapolis Division
                               No. 1:23-cv-00595-JPH-KMB,
                          The Honorable James P. Hanlon, Judge


                           PETITION FOR REHEARING EN BANC
                                _____________________________

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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 23-2366
                    _______________

               K.C. et al.. v. Individual Members of the Medical Licensing Board, et al.
Short Caption: _________________________________________________________________________________________

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   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
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          K.C., Nathaniel & Beth Clawson; M.W., Ryan & Lisa Welch; A.M, Emily Morris: M.R., Maria Rivera, Catherine Bast,MD
          ________________________________________________________________________________________________________

          Mosaic Health & Healing Arts, Inc. (Unredacted disclosure statement filed and sealed pursuant to July 17, 2023 Order)
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      K.C., et al. v. Individual Members of the Medical Licensing Board of Indiana, et al.




K.C., Nathaniel & Beth Clawson, M.W., Ryan &Lisa Welch, A.M., Emily Morris, M.R., Maria Rivera, Catherine Bast, M.D

and Mosaic Health & Healing Arts, Inc. Full names of minors included in sealed disclosure statement of Kenneth J. Fal



ACLU of Indiana, American Civil Liberties Union




         None



         None



N/A



N/A



          /s/ Gavin M. Rose                                           July 14, 2023

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and Mosaic Health & Healing Arts, Inc. Full names of minors included in sealed disclosure statement of Kenneth J. Fal



ACLU of Indiana, American Civil Liberties Union




         None



         None



N/A



N/A



          /s/ Stevie J. Pactor                                        July1,2023

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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    23-2366
Appellate Court No: _______________

               K.C., et al. v. Individual Members of the Medical Licensing Board of Indiana, et al.
Short Caption: _________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          Mosaic Health & Healing Arts, Inc. Full names of minors included in sealed disclosure statement of Kenneth J. Falk.
          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
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(3)       If the party, amicus or intervenor is a corporation:

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                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

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            STATEMENT IN SUPPORT OF REHEARING EN BANC

      The panel’s divided decision in this case conflicts with Supreme Court

precedent (Bostock v. Clayton County, 590 U.S. 644 (2020), Holder v. Humanitarian

Law Project, 561 U.S. 1 (2010), Parham v. J.R., 442 U.S. 584 (1979), and Bigelow v.

Virginia, 421 U.S. 809 (1975)), Circuit precedent (A.C. v. Metropolitan School District

of Martinsville, 75 F.4th 760 (7th Cir. 2023), cert. denied, 144 S. Ct. 683 (2024), and

Whitaker ex rel. Whitaker v. Kenosha Unified School District No. 1 Board of

Education, 858 F.3d 1034 (7th Cir. 2017)), and the authoritative decision of another

federal appellate court (Planned Parenthood Great Northwest, Hawaii, Alaska,

Indiana, Kentucky v. Labrador, –F.4th–, 2024 WL 4966057 (9th Cir. Dec. 4, 2024)).

Moreover, the case presents issues of exceptional importance as it concerns the denial

of necessary medical care to extremely vulnerable youth. En banc review is warranted

to correct these errors.



                                 INTRODUCTION

      Senate Enrolled Act 480 (“SEA 480”) prohibits transgender Hoosier youth from

receiving gender-affirming medical care, consisting of medicines to temporarily pause

puberty as well as hormone therapy, i.e., testosterone for transgender boys and

testosterone suppression and estrogen for transgender girls, to allow them to go

through hormonal puberty in accordance with their gender identity. Ind. Code §§ 25-




                                           [1]
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1-22-5(a), 25-1-22-13(a). 1 These banned medical interventions may be prescribed for

any purpose other than “gender transition.” Ind. Code § 25-1-22-5(b). In addition to

prohibiting physicians or other practitioners (together “providers”) from knowingly

providing gender-transition procedures to minors, SEA 480 prohibits these persons

from “aid[ing] or abet[ting] another physician or practitioner” in the provision of the

banned care. Ind. Code § 25-1-22-13(b). That provision prevents providers from

sharing truthful information about the availability of legal, out-of-state care with

transgender youth and their families.

      In reversing the district court’s preliminary injunction allowing this essential

health care for transgender youth to continue, the panel majority held the statute’s

discrimination against transgender youth was not sex discrimination subjected to

heightened scrutiny. K.C. v. Individual Members of Med. Licensing Bd., Ind., 121

F.4th 604, 616-20 (7th Cir. 2024). This is erroneous and contravenes Bostock, A.C.,

and Whitaker. The majority also erred in concluding that SEA 480 does not violate

the due process rights of the appellee-parents seeking to obtain necessary medical

care for their children, 121 F.4th at 623-28, despite Supreme Court precedent

recognizing parents’ fundamental right to direct their minor children’s medical care.

See, e.g., Parham.

      The district court also preliminarily enjoined the “aiding or abetting”

provisions of SEA 480 insofar as they prevented the appellee-providers from




1      SEA 480 also prohibits gender-affirming surgery, Ind. Code § 25-1-22-5(a). However,
no such surgery is provided to minors in Indiana. (S.A. 2).
                                           [2]
          Case: 23-2366     Document: 149          Filed: 12/23/2024     Pages: 26


furnishing patient referrals to out-of-state practitioners who are lawfully able to

provide gender-affirming medical care and from supplying other information,

including medical records, to those providers. (Dist. Ct. Dkt. 68 at 1). Even though,

as applied in these instances, the “aiding or abetting” provision prohibits the

appellee-providers from engaging in pure speech about activities that are lawful in

the other states, the majority concluded that the district court erred in finding SEA

480 likely violates the First Amendment. 2 This holding cannot be reconciled with,

and is contrary to, Supreme Court cases, including Bigelow v. Virginia, 421 U.S. 809

(1975) and Holder v. Humanitarian Law Project, 561 U.S. 1 (2010). It also conflicts

squarely with the Ninth Circuit’s recent decision in Labrador.



                                      ARGUMENT

I.       The panel majority’s decision that SEA 480 does not discriminate
         based on sex cannot be reconciled with Supreme Court and Circuit
         precedent, but en banc review should be deferred until after the
         Supreme Court’s determination in United States v. Skrmetti

         The bottom line is that if an Indiana physician has been informed that a new

    minor patient has been referred for the administration of, for example, testosterone

    because he has not yet undergone typical male puberty, the doctor will not know if

    she can prescribe the hormone unless she knows the sex assigned to the youth at

    birth. A youth assigned male at birth can receive the testosterone, but a transgender


2      The representatives of the class of appellee-providers, Dr. Bast and Mosaic Health
and Healing Arts, are no longer providing services in Indiana. (Dist. Ct. Dkt. 131).
Proceedings in the district court are stayed pending this appeal and the parties have agreed
to defer consideration of any issues concerning the class and its representation until the
conclusion of the appeal. (Id. at 130, 131).
                                            [3]
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male cannot. This is a line drawn facially based on sex. The law “unavoidably

discriminates against persons with one sex identified at birth and another today.”

Bostock, 590 U.S. at 669. Because the law’s prohibition “cannot be stated without

referencing sex,” it creates a sex-based classification for purposes of equal protection.

Whitaker, 858 F.3d at 1051. This reliance on “sex-based classifications . . . is

therefore subject to heightened scrutiny.” A.C., 75 F.4th at 772 (citing Whitaker); see

also United States v. Virginia, 518 U.S. 515, 524, 533 (1996).

      The Supreme Court is considering whether a comparable Tennessee statute

banning gender-affirming medical care for minors triggers heightened scrutiny as

discrimination based on sex. United States v. Skrmetti¸ No. 23-477 (oral argument

conducted on December 4, 2024). Although the panel majority’s decision is incorrect

based on existing Circuit and Supreme Court precedent, it is in the interest of

judicial economy for this Court to defer rehearing on this issue until after the

Supreme Court’s likely dispositive decision in Skrmetti. This Court should therefore

hold the mandate in abeyance until after the Supreme Court decides Skrmetti. See,

e.g., Teague v. Lane, 820 F.2d 832, 833 n.1 (7th Cir. 1987) (en banc) (noting that the

rehearing en banc was postponed until after the Supreme Court had decided a

related case).

II.   The panel majority’s determination that SEA 480 does not impinge
      upon the fundamental rights of parents to direct their minor
      children’s medical care conflicts with Supreme Court precedent

      The district court did not reach the claims of the appellee-parents that SEA

480 interferes with their fundamental due process right to obtain necessary medical


                                          [4]
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care for their children. The panel majority erroneously defined the right at issue as

the right of “parents to access gender transition procedures for their children.” 121

F.3d at 624. Having defined the right in this extremely narrow manner, the panel

majority concluded that the right was not “deeply rooted” in history and tradition. Id.

at 625 (quoting Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 237 (2022)).

While any fundamental right protected by due process must be defined in a manner

“that is specific and concrete [and] avoids sweeping abstractions and generalities,”

Doe v. City of Lafayette, Ind., 377 F.3d 757, 769 (7th Cir. 2004) (en banc), the panel

majority erred in defining the right so narrowly. 3

       For the past century, the Supreme Court has decided an unbroken chain of

cases recognizing that “the interest of parents in care, custody, and control of their

children” is “perhaps the oldest of the fundamental liberty interests recognized by

this Court.” Troxel v. Granville, 530 U.S. 57, 65 (2000) (citing numerous Supreme

Court cases stretching back to 1923, including Parham). The right of parents to

control their children’s care and upbringing is about as deeply rooted in history and

tradition as can be.

       In Parham, the Court held, in the context of parents seeking voluntary

psychiatric commitment for their children, that this fundamental right of parental

control necessarily includes the “plenary authority to seek such care for their

children, subject to a physician’s independent medical examination and medical


3       The due process claim is not part of the Skrmetti case recently argued in the Supreme
Court. It was part of the underlying Sixth Circuit decision and was raised in a still-pending
petition for a writ of certiorari. See L.W. v. Skrmetti, 83 F.4th 460, 475 (6th Cir. 2023), petition
for cert. filed, No. 23-466 (Nov. 1, 2023).
                                                [5]
        Case: 23-2366      Document: 149            Filed: 12/23/2024     Pages: 26


judgment.” 442 U.S. at 604. As if to rebut the panel majority’s insistence here that

the right is somehow limited to a particular medical procedure, the Parham Court

stressed that this authority to seek medical care includes the ability to make decisions

to obtain “a tonsillectomy, appendectomy, or other medical procedure.” Id. at 603.

       The gender-affirming medical care barred by SEA 480 is most definitely a

“medical procedure.” However, the panel majority dismissed Parham as a case “about

the limits of parental discretion.” 121 F.4th at 626. 4 But Parham involved parents

who sought medical care for their children, and the Court recognized that the parents

had the constitutional right to make those determinations.

       Of course, the right established by Parham does not overcome a State’s ability

to ban the care for all its citizens, assuming such a general ban meets constitutional

standards. Id. at 627. But gender-affirming care is an available medical treatment

for adults in Indiana, and it is banned only for transgender minors, regardless of

parental consent.

       It is true that parental rights are not absolute. But, as fundamental rights,

they cannot be infringed “unless the infringement is narrowly tailored to serve a

compelling state interest.” Reno v. Flores, 507 U.S. 292, 302 (1993) (citations omitted).

The State’s evidence submitted to the district court comes nowhere close to satisfying


4      The majority also cites Cruzan v. Director, Missouri Dept. of Health, 497 U.S. 261
(1990), where the petitioners argued that under Parham the substituted judgment of family
members should be honored where they sought to remove an adult from life support. K.C.,
121 F.4th at 626 (citing Cruzan, 497 U.S. at 286). But the Court in Cruzan noted that Parham
concerned minors and there is no constitutional right demanding the state recognize family
decisionmaking for adults. 497 U.S. at 286. After all, Parham is “a case about parents’ rights
over their minor children,” and Cruzan is not. Heller v. Doe by Doe, 509 U.S. 312, 349 (1993)
(Souter, J., dissenting).
                                             [6]
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this heavy burden. At most, the evidence establishes that some have argued the

treatment carries risks, but the existence of “risk[ ] does not automatically transfer

the power to make [the healthcare] decision from the parents to some agency or officer

of the state.” Parham, 442 U.S. at 603. And as recognized by the district court, the

appellees presented evidence that, far from protecting the appellee-youth, the denial

of the gender-affirming medical care will expose them to serious “additional distress

and health risks.” (S.A. 25).

         “[S]o long as a parent adequately cares for his or her children (i.e., is fit), there

will normally be no reason for the State to inject itself into the private realm of the

family to further question the ability of that parent to make the best decisions

concerning the rearing of that parent’s children.” Troxel, 530 U.S. at 68-69. The panel

majority ignores this essential point. Rehearing en banc is warranted to correct this

error.

III.     The panel majority’s conclusion that the aiding and abetting
         provision does not violate the First Amendment is erroneous,
         conflicts with Holder and Bigelow, and creates a circuit split

         The panel majority concluded that the district court erred in finding the aiding

and abetting provision to be likely unconstitutional. The majority also concluded that

it is not clear that the law prohibits anything other than speech integral to unlawful

conduct and even if it impinges on protected expression, such impact is only

incidental. This ignores the facts in this case and conflicts with Holder, Bigelow, and

other Supreme Court cases. It also conflicts with the Ninth Circuit’s recent Labrador

decision.


                                              [7]
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      A.     SEA 480 prohibits the speech of the appellee-providers and this
             speech is not incidental to unlawful conduct

             1.     The decision of the panel majority conflicts directly with
                    decisions of the Supreme Court

      As Judge Jackson-Akiwumi states in dissent, the panel majority’s holding is

predicated on a basic misunderstanding of the facts. 121 F.4th at 643-44 (Jackson-

Akiwumi, J., dissenting). Although the panel majority notes that the aiding and

abetting statute could apply to conduct and could apply if the appellee-providers

made referrals to other Indiana practitioners providing prohibited gender-affirming

medical care (although there is no indication that any such in-state providers exist

given that the care is prohibited), 121 F.4th at 630, the record demonstrates that this

is not what the appellee-providers desire to do or how they are being harmed by SEA

480. Instead, the appellee-providers want to refer their patients to out-of-state

providers where they can legally obtain the care that is banned in Indiana. (Dist. Ct.

Dkt. 26-9 at 4-5). 5 Indeed, such referrals are necessary and consistent with a

physician’s obligations to their patients. (Id.). The appellee-providers also want to

cooperate with out-of-state practitioners by talking to them and providing patient

records to ensure continuity of care for their former patients. (Id. at 5).

      As applied to the appellee-providers, the statute regulates what they can say

in directing their patients to out-of-state practitioners and in responding to requests

from those practitioners. The panel majority does not appear to dispute this but


5       Such care is available in the contiguous states of Illinois and Michigan. Movement
Advancement Project, Bans on Best Practice Medical Care for Transgender Youth,
https://www.lgbtmap.org/equality-maps/healthcare_youth_medical_care_bans (last visited
Dec. 11, 2024).
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concludes that the speech can be prohibited as integral to unlawful conduct, relying

on United States v. Hansen, 599 U.S. 762 (2023).

      In Hansen, the Court concluded the defendant could be held criminally liable

for encouraging or inducing a person to facilitate specific acts violating federal law.

Id. at 781. This is because speech “intended to induce or commence illegal activities”

is not protected by the First Amendment. United States v. Williams, 553 U.S. 285,

298 (2008). As the Court noted in Giboney v. Empire Storage & Ice Co., 336 U.S. 490

(1949), the First Amendment does not “extend[ ] its immunity to speech or writing

used as an integral part of conduct in violation of a valid criminal statute.” Id. at 688.

Conversely, when “there is no predicate crime,” speech cannot be deemed

“unprotected for being integral to criminal conduct.” Friend v. Gasparino, 61 F.4th

77, 90 (2d Cir. 2023) (internal quotation and citation omitted).

      The problem with the panel majority’s analysis is that the speech the appellee-

providers wish to engage in is to advise their patients about how to seek lawful

medical care in other states, and to discuss their patients with practitioners who

engage in that lawful behavior. At oral argument, the State conceded that the aiding

and abetting prohibition bans precisely those out-of-state communications. (Oral

Argument of Feb. 16, 2024 at 19:00–19:37).

      The Supreme Court has long held that informing a person about a service that

is lawful in one state is protected by the First Amendment, even if that service is

unlawful in the state where the information is received. This is the precise holding of

Bigelow where the Court reversed the conviction of a Virginia newspaper publisher


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for running an advertisement for abortion services in New York, where abortion was

legal, even though it was illegal in Virginia. The Court determined “[a] State does not

acquire power or supervision over the internal affairs of another State merely because

the welfare and health of its own citizens may be affected when they travel to that

State.” 421 U.S. at 824. “It may seek to disseminate information so as to enable its

citizens to make better informed decisions when they leave.” Id. But it may not punish

the dissemination of information about activities that are lawful in the foreign state,

which is precisely what SEA 480 does to the appellee-providers. Id. at 824-25.

“[T]here can be no aiding and abetting violation” where the party who has been aided

or abetted did not violate any law. Congregation of the Passion, Holy Cross Province

v. Kidder Peabody & Co., Inc., 800 F.2d 177, 183 (7th Cir. 1986). The decision of the

panel majority is directly contrary to and cannot be reconciled with Bigelow.

      The panel majority compounded its error by concluding that even if SEA 480

“does more than regulate speech integral to unlawful conduct” any burden is

incidental because the statute targets the conduct of facilitating the provision of

gender-affirming medical care. 121 F.4th at 629. That completely ignores Holder,

where the Court addressed a federal prohibition on the provision of “material support

or resources” to certain foreign terrorist organizations. 561 U.S. at 7. Given that the

prohibited activity “most often does not take the form of speech at all,” the

government contended that “the only thing truly at issue [was] conduct” and any

burden on speech was merely incidental to the statute’s regulation of conduct. Id. at

26. The Supreme Court unequivocally rejected this argument. “The law here may be


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described as directed at conduct . . . but as applied to plaintiffs the conduct triggering

coverage under the statute consists of communicating a message.” Id. at 28.

Therefore, the Supreme Court subjected the statute to the strict scrutiny demanded

of enactments directly impinging on First Amendment expression. Id.

       The same is true here. SEA 480 targets the message communicated by the

appellee-providers. As providers are free to talk about anything else, this is a content-

and viewpoint-based regulation of speech that can be upheld only if it is narrowly

tailored to forward a compelling governmental interest. Reed v. Town of Gilbert, Ariz.,

576 U.S. 155, 171 (2015). The State claims a compelling interest in preventing the

harm that may be caused to children who receive this widely accepted form of medical

care. But a state’s interest in shielding its citizens from information about legal out-

of-state medical services that is not “deceptive or fraudulent” and that does not

“further[ ] a criminal scheme” in the state is “entitled to little, if any, weight.” Bigelow,

421 U.S. at 828.

       Regardless of the strength of the State’s interest, SEA 480 is not narrowly

tailored to serve it. Information about minors’ options for obtaining gender-affirming

medical care is available from a wide variety of sources, but Indiana has not chosen

to prohibit these other sources of information. It has instead prohibited appellee-

providers from sharing vital information with patients and out-of-state providers. It

is not enough under strict scrutiny for the State to argue that it wants to protect

minors when SEA 480 prohibits the provision of medical information that will

safeguard their out-of-state treatment.


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               2.     The panel majority’s decision conflicts with a recent
                      decision from another federal appellate court

         En banc review is appropriate when a panel’s decision creates a circuit conflict.

See, e.g., Fed. R. App. 40(b)(2)(C); Rakestraw v. United Airlines, Inc., 989 F.2d 944,

945 (7th Cir. 1993) (Ripple, J., dissenting from denial of rehearing en banc) (“Because

the panel's analysis deviates from established law of the Supreme Court and this

court, and because it places this circuit in conflict with other circuits, the petition for

rehearing en banc should be granted.”). After the panel’s decision in this case the

Ninth Circuit decided Labrador and affirmed a preliminary injunction against an

Idaho statute that penalized any health care professional who assists in performing

an abortion to the extent that the state attorney general had interpreted the statute

as prohibiting patient referrals to out-of-state abortion providers. 2024 WL 4966057,

at *2.

         In three short paragraphs the Ninth Circuit affirmed the district court’s

conclusion that the statute likely violated the First Amendment, noting that the

statute, as interpreted by the state attorney general, involves “professional medical

speech [that] is entitled to at least as much First Amendment protection as other

speech.” Id. at *12 (citing Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 585 U.S 755,

767-68 (2018)). The statute, as interpreted, “is not merely an incidental burden. It

directly prohibits medical professionals from ‘referring’ a patient ‘across state lines

to access abortion services.’ That is, it prohibits speech that is distinct from the actual

provision of treatment.” Id. The court recognized that the statute, as interpreted by




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the attorney general, “is a content-based restriction on speech because it silences

healthcare providers. . . . [and] forbids expression of a particular viewpoint.” Id.

       The Labrador decision is entirely consistent with holdings of the Supreme

Court and en banc review is needed to remove the conflict created by the panel

majority’s decision.

       B.     Even if SEA 480 is deemed to have only an incidental burden on
              speech, it fails the required intermediate scrutiny

       Moreover, as noted by Judge Jackson-Akiwumi in dissent, 121 F.4th at 653-

54, the panel majority erred by ignoring the fact that even if SEA 480 is deemed only

to have an incidental burden on speech it nevertheless fails the standards set out in

United States v. O’Brien, 391 U.S. 367 (1968), which establishes “the test for

incidental limitations on expressive conduct.” BBL, Inc. v. City of Angola, 809 F.3d

317, 326 (7th Cir. 2015). 6 Government action with an incidental burden on speech

must nevertheless: 1) be within the government’s constitutional power; 2) further an

important governmental interest; 3) be unrelated to the suppression of free

expression, and 4) not restrict First Amendment rights any further than necessary to

further the governmental interest. O’Brien, 391 U.S. at 377.

       As the dissent noted, 121 F.4th at 654, SEA 480 fails each of the O’Brien factors

as applied to the appellee-providers’ desired expression. Indiana has no constitutional



6      The panel majority refused to consider O’Brien because it erroneously concluded that
“to the extent SEA 480 regulates speech, it regulates speech integral to unlawful conduct.”
122 F.4th at 630 n.4. But the majority went further to conclude that if the statute does burden
speech, it creates only an incidental burden. Id. at 629-30. Having raised the incidental
burden of speech as a possibility, the majority should have applied O’Brien.

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power to punish lawful activity taking place in another state and does not have a

legitimate interest in doing so, Bigelow, 421 U.S. at 828, meaning that SEA 480 fails

the first two O’Brien factors. As far as the third O’Brien factor is concerned, “Indiana’s

interest in regulating the aiding and abetting of conduct is directly related to the

suppression of speech itself.” K.C., 121 F.4th at 654 (Jackson-Akiwumi, J.,

dissenting). Finally, because Indiana has no legitimate interest in prohibiting the

appellee-providers from assisting their patients in receiving lawful out-of-state care,

the restriction on the First Amendment is certainly greater than necessary.

Therefore, SEA 480 is likely to violate the First Amendment even if deemed to have

only an incidental burden.

IV.   This case presents issues of exceptional importance

      The errors in the panel majority’s decision are profound and the result is

devastating—the denial of necessary medical care to adolescents who were thriving

with the now-banned medical care. Because Indiana has displaced fit parents and

infringed on their fundamental right to direct their minor children’s medical care,

these youth will now be forced to suffer from physical changes that are inconsistent

with their gender identities and the depression, anxiety, and suicidality that are a

product of untreated gender dysphoria. Alternatively, families will have to look

outside of Indiana for medical care and will not be able to rely on the advice and

direction of their former Indiana practitioners. The dangers the appellees face are

grave and the issues in this case are of exceptional importance.




                                           [14]
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                                 CONCLUSION

      The petition for rehearing en banc should be granted and the district court’s

preliminary injunction should be affirmed.


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